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                             Exhibit B
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                                       §
  MARVELL SEMICONDUCTOR, INC.                          §
  MARVELL ASIA PTE., LTD., and MARVELL                 §
  INTL., LTD,                                          §
                                                       §
                         Plaintiffs and                §      Civil Action No. 6-07-CV-204 LED
                         Counterdefendants,            §
                                                       §      Jury Trial Demanded
                 v.                                    §
                                                       §
  COMMONWEAL TH SCIENTIFIC AND                         §
  INDUSTRIAL RESEARCH ORGANISATION,                    §
                                                       §
                         Defendant and                 §
                         Counterc1aimant.              §



         COMMONWEALTH SCIENTIFIC AND INDUSTRIAL RESEARCH
    ORGANISATION'S NOTICE OF INTENT TO DEPOSE A REPRESENTATIVE FOR
       SONY ELECTRONICS, INC. PURSUANT TO FED. R. CIV. PRO. 30(B)(6)

         PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) of the Federal Rules of Civil

  Procedure, Plaintiff Commonwealth Scientific and Industrial Research Organisation will take the

  deposition upon oral examination of Sony Electronics, Inc., 555 Madison Ave., Floor 8 c/o Sony

  Corp. of America, New York, NY 10022-3337, commencing on Monday, November 30,2009, at

  9:00 a.m. Sony Electronics, Inc. can be served through its registered agent for service of process

  Corporation Service Company d/b/a CSC - Lawyers Inco, 211 E. 7th Street, Wuite 620, Austin

  Texas 78701. The deposition will be conducted at the offices of Capshaw DeRieux LLP at 1127

  Judson Road, Suite 200, Longview, Texas 75601, or other such place as agreed upon by the

  parties. Sony Electronics, Inc. is directed to designate and produce one or more of its officers,

  directors, managing agents, or other designated persons to testify on its behalf as to the

  information known or reasonably available to Sony Electronics, Inc. concerning the matters set

  forth in ATTACHMENTA.
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         This is an independent Rule 30(b)(6) notice that does not supersede, modify, or affect in

  any manner other Rule 3O(b)(6) notices that have been served during this litigation.

         The deposition will be recorded stenographically before a notary Public or other officer

  authorized to administer oaths, and shall continue day-to-day, excluding weekends and holidays,

  until completed.




  DATED: November 23, 2009              Respectfully submitted,



                                        By: lsi S. Calvin Capshaw
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                                             Capshaw DeRieux, L.L.P.
                                             1127 Judson Road, Suite 220
                                             Longview, Texas 75601
                                             Telephone: (903) 236-9800
                                             Facsimile: (903) 236-8787

                                            Attorneys for Defendant,
                                            COMMONWEAL TH SCIENTIFIC AND
                                            INDUSTRIAL RESEARCH ORGANISATION


                                  CERTIFICATE OF SERVICE

          I hereby certify that counsel of record who are deemed to have consented to electronic
  service are being served the 23rd day November, 2009, with a copy of this document via the
  Court's CM/ECF system per Local Rule CV-5(a)(3), or to the extent not available in that
  manner, counsel of record will be served by electronic mail, facsimile transmission andlor first
  class mail on this same date.

                                                       lsi S. Calvin Capshaw
                                                       S. Calvin Capshaw
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                                     §
  MARVELL SEMICONDUCTOR, INC.                        §
  MARVELL ASIA PTE., LTD., and MARVELL               §
  INTL., LTD,                                        §
                                                     §
                        Plaintiffs and               §
                        Counterdefendants,           §       Civil Action No. 6-07-CV-204 LED
                                                     §
                v.                                   §       Jury Trial Demanded
                                                     §
  COMMONWEAL TH SCIENTIFIC AND                       §
  INDUSTRIAL RESEARCH ORGANISATION,                  §
                                                     §
                        Defendant and                §
                        Counterc1aimant.             §


                                        ATTACHMENT A


                                             Definitions

        The following terms and definitions shall apply to this Notice:

     1) "And" as used herein shall mean and/or;

     2) "Identification," "identify," or "identify," when used with reference to:

            a. An individual person means to state his or her full name, present or last known

                employer, job title, present or last known residential address and telephone

                number, and present or last known business address and telephone number;

            b. A business entity means to state the full name and address of the entity and the

                names and positions of the individual or individuals connected with such entity

                who have knowledge of the information requested; and

            c. A document means to state the type of document (letter, report, fact sheet, etc.);

                its date, author(s) or originator(s), addressees; all individuals who received copies

                of the document; the identity of the persons known or presumed by you to have
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                present possession, custody, or control thereof; and a brief description of the

                subject matter and present location;

     3) "Person" or "people" shall refer to any natural person, firm association, partnership,

        corporation, group, organization, or other form of legal business entity.

     4) "You" or "your" means Sony Electronics, Inc. and includes any officers, directors,

        partners, associates, employees, staff members, agents, representatives, attorneys, foreign

        or domestic subsidiaries, parents, affiliates, divisions, successors, predecessors, and any

        other related entities, and specifically includes all assets or companies that have been

        acquired by Defendant or with respect to which it has succeeded to rights and/or

        obligations.
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                          Sony Electronics, Inc. 30(b)(6) Deposition Topics

  I.    The documents, records, reports, and things contained in ATTACHMENTBand
        videos contained in ATTACHMENTC, (collectively referred to as "Material at
        Issue") including:

        A. The identification of the Material at Issue;
        B. Confirmation or denial that the Material at Issue is or was publicly available on your
             website;
        C. Confirmation or denial that Material at Issue was placed on the web by you;
        D. Confirmation or denial that the originals of the Material at Issue are within your
             "possession, custody or control" under Fed.R.Civ.P. 26(a)(I)(A)(ii);
        E. Confirmation or denial that the Material at Issue was made in the regular course of
             your business;
        F. Confirmation or denial that the Material at Issue was kept in the regular course of
             your business;
        G. Confirmation or denial that the Material at Issue was made at or near the time of the
             occurrence of the matters set forth by, or from information transmitted by, a person
             with knowledge of those matters;
        H. Confirmation or denial that the entries on or contained in the Material at Issue were
             made at or near the time of the act, event, statement, information, or transaction
             recorded or reflected in the Material at Issue;
        I.   Confirmation or denial that it was in the regular course of your business for a person
             with knowledge of the acts, events, statements, conditions, or opinions recorded or
             reflected in or on the Material at Issue to make or record or transmit the information
             to be included in the Material at Issue; and
        J.   Discussion, exploration, explanation, or investigation of the items above if the
             answers are anything other than a whole and unqualified confirmation, and to the
             extent that such answers are required, the documents, reports, videos, and other
             materials will be referred to separately as needed.


  II.   Confirm the identity of the following corporate officers:

        A. Howard Stringer;
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         1) Ryoji Chubachi; and
         2) Kazuo Hirai.


  III.      Confirm statements attributed to you in the artic1e(s) in ATTACHMENT D.
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                             §
  MARVELL SEMICONDUCTOR, INC.                §
  MARVELL ASIA PTE., LTD., and MARVELL       §
  INTL., LTD,                                §
                                             §
                    Plaintiffs and           §
                    Counterdefendants,       §     Civil Action No. 6-07-CV-204 LED
                                             §
              v.                             §     Jury Trial Demanded
                                             §
  COMMONWEAL TH SCIENTIFIC AND               §
  INDUSTRIAL RESEARCH ORGANISATION,          §
                                             §
                    Defendant and            §
                    Counterc1aimant.         §


                                    ATTACHMENT B



                   See documents contained on CD which is attached.
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                               §
  MARVELL SEMICONDUCTOR, INC.                  §
  MARVELL ASIA PTE., LTD., and MARVELL         §
  INTL., LTD,                                  §
                                               §
                    Plaintiffs and             §
                    Counterdefendants,         §     Civil Action No. 6-07-CV-204 LED
                                               §
              v.                               §     Jury Trial Demanded
                                               §
  COMMONWEAL TH SCIENTIFIC AND                 §
  INDUSTRIAL RESEARCH ORGANISATION,            §
                                               §
                    Defendant and              §
                    Counterc1aimant.           §


                                   ATTACHMENT        C




                     See video(s) contained on CD which is attached.
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

                                               §
  MARVELL SEMICONDUCTOR, INC.                  §
  MARVELL ASIA PTE., LTD., and MARVELL         §
  INTL., LTD,                                  §
                                               §
                    Plaintiffs and             §
                    Counterdefendants,         §      Civil Action No. 6-07-CV-204 LED
                                               §
              v.                               §     Jury Trial Demanded
                                               §
  COMMONWEAL TH SCIENTIFIC AND                 §
  INDUSTRIAL RESEARCH ORGANISATION,            §
                                               §
                    Defendant and              §
                    Counterc1aimant.           §


                                   ATTACHMENT D




                    See article(s) contained on CD which is attached.
